             Case 8:16-cr-00564-PX Document 20 Filed 06/19/17 Page 1 of 2



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

                                                      *
UNITED STATES OF AMERICA,
                                                      *
        v.                                                       Cr. Case No. PX-16-564
                                                      *              -Case Under Seal-

SEANDELL HECTOR,                                      *

        Defendant.
                                                  ******


                         ORDER MODIFYING CONDITIONS OF RELEASE


        Pending before the Court is Defendant Seandell Hector’s Motion for Authorization for

International Travel. ECF No. 19. For the reasons stated in Court, the Motion is GRANTED.

Mr. Hector’s release conditions are modified to include the following:

        1. Mr. Hector may travel to Trinidad and Tobago from June 23, 2017 through June 27,

2017 under the following conditions:

        a. That the Defendant travel with Keron Hector as his third-party custodian. In addition

to the regular responsibilities of a third-party custodian, Mr. Keron Hector has agreed to maintain

utmost confidentiality regarding the Defendant’s case and discuss this matter with no-one outside

the Pretrial Services Office or this Court. Mr. Hector has also agreed to provide a working cell

phone number on which the Defendant’s Pretrial Services Officer may contact him at any time

during the trip.

        b. That the Defendant, by no later than June 21, 2017, must provide the United States

Pretrial Services Office and the Government copies of:

                   1. his flight manifest and proof of purchase for his roundtrip airfare

                   2. the cell phone number where he may be reached at all times
           Case 8:16-cr-00564-PX Document 20 Filed 06/19/17 Page 2 of 2



                 3. the physical address(es) of any places that he will be staying during his trip

       c. The Clerk is hereby ORDERED to release the Defendant’s passport to him on June 22,

2017, and Defendant must return the passport to the Clerk’s Office by no later than 2:00 p.m. on

June 28, 2017.

All other conditions of Defendant’s Pretrial release remain in full effect.




 6/19/2017                                                               /S/
Date                                                    Paula Xinis
                                                        United States District Judge
